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                               UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 PHILIP AMARA,
      Plaintiff,


  v.
                                                        CASE NO.: 8:19-cv-3125-TPB-CPT

 REGAL CINEMAS, INC.,
     Defendant.
                                                 /

           DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION FOR CLASS
   CERTIFICATION AND FOR LEAVE TO TAKE DISCOVERY BEFORE ENTRY OF
                          FINAL JUDGMENT

        Defendant, REGAL CINEMAS, INC., (“Defendant”), by and through its undersigned

 counsel, responds to and opposes Plaintiff’s Motion for Class Certification and for Leave to Take

 Discovery Prior to Entry of Final Judgment and states as follows:

                    RELEVANT FACTS AND PROCEDURAL HISTORY

        1.      During all times relevant to this matter, Defendant administered the following

 SMS process for sending marketing and advertising texts (see Declaration of Denise Davis, ¶¶ 4-

 5, attached hereto as Exhibit A):

                A. Individuals signed up for the Regal Crown Club (“RCC”) and received an

                    RCC card by providing the following information on the Regal website, Regal

                    app, or other Regal channel: name, email address, password, mobile telephone

                    number, address, birthday and gender.

                B. While joining, RCC members can opt-in to receiving texts messages by

                    selecting toggle or online and updating their account profile on a screen that

                    reads: “By selecting this option and tapping “Update Account” below, I
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                consent to receive up to 4 marketing or other text messages per month from

                Regal Cinemas at the mobile number provided. I understand that this consent

                is not required to purchase any goods or services from Regal. Text message

                and data rates may apply. Reply HELP for help, STOP to Cancel. See full

                SMS Terms & Conditions.” RCC members then selects/toggles or checks a

                box to opt-in after accepting the SMS Terms & Conditions.

             C. Once the RCC member opted-in, the RCC member received an initial text that

                read: “Promotional Alerts. Reply YES to get Regal Cinemas promotional

                texts. 4 msgs/month. Msg&Data rates may apply. Reply HELP for help.

                Reply STOP to cancel.

             D. If the RCC member replied YES, then the member received a second text that

                read: “Welcome to Regal Cinemas mobile promotions. Your first notification

                is coming soon. Msg&Data rates may apply. Reply HELP for help. Reply

                stop to cancel.

             E. Within 24 hours of replying YES to the initial text, Defendant sent a reward to

                the RCC member, such as a voucher for a free small popcorn, to the RCC

                member’s RCC card.

             F. RCC members who have opted-in received up to 4 texts per month. Members

                could opt-out by replying STOP to a text or by contacting customer service

                for assistance.

             G. Regal uses Movio, as its SMS system. Movio overlays the Regal point of sale

                system and enables Defendant’s marketing team to target RCC members by

                cinema activity, transaction data, movie-going behavior and the like.




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                  Defendant’s marketing team uses filters to target the best audience for a given

                  text message. The filters are used to include and exclude RCC members for

                  the message. The use of the filters enables the marketing team to create a

                  recipient list that the marketing team would like to target.

               H. The marketing team then set up a campaign, defined the message to be sent,

                  and attached the recipient list for the message. The marketing team then

                  clicked the option to execute the campaign.

               I. Movio has a contract with Click Send and the text message to the targeted

                  recipient list was sent through the Click Send platform. Defendant does not

                  have a relationship with Click Send directly.

               J. Defendant’s SMS system cannot send text messages to RCC members without

                  the intervention of Defendant’s marketing team in selecting the target

                  recipient list, creating the campaign and text message and clicking the option

                  to execute the campaign.

               K. Defendant has not and does not send marketing or advertising texts to

                  individuals unless they are RCC members who have opted-in to receiving the

                  texts. If members opt-out by replying to a text, their removal from receiving

                  further texts is instantaneous. If a member calls or e-mails the Customer

                  Relations Department to request to be removed from receiving further texts,

                  the removal takes effect when it is processed, which could take 5-10 days.

        2.     On December 19, 2019, Plaintiff filed a Class Action Complaint in this Court

 alleging violations of the Telephone Consumer Protection Act, 47 U.S.C. § 2227 (the “TCPA”).

 (Dkt. 1).




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        3.     On December 30, 2019, the Complaint was served on Defendant through its

 registered agent, CT Corporation, thereby making the response pleading date January 21, 2019.

        4.     Regal Cinemas is a subsidiary of Cineworld Group plc, which headquartered in

 the United Kingdom.     (See Defendant’s Motion to Set Aside Default, Dkt. 10). The General

 Counsel for Cineworld is located in Israel and is typically involved in the selection of outside

 counsel for class action cases. Id. Consequently, the Complaint was sent to the General Counsel

 in Israel. Id. Due to an oversight, outside counsel was not selected by the January 21, 2019

 response date and no responsive pleading was filed. Id.

        5.     On January 23, 2020, Plaintiff’s counsel filed Plaintiff’s Application for Clerk’s

 Entry of Default Against Defendant Regal Cinemas, Inc. Pursuant to Fed. R. Civ. P. 55(A) (Dkt.

 6). The Clerk entered an Entry of Default that same day. (Dkt. 8).

        6.     On January 27, 2020, the Eleventh Circuit Court of Appeals entered its decision

 in Glasser v. Hilton Grand Vacations Company, LLC, 2020 WL 415811 (11th Cir. Jan. 27, 2020).

 In that case, the Court addressed and narrowed the definition of an “automated telephone dialing

 system (“ATDS”) under the TCPA. Specifically, the Court ruled that, to be an ATDS under the

 TCPA, the telephone/text system must randomly or sequentially generate and dial telephone

 numbers without human intervention. Thus, the Court affirmed summary judgment in favor of

 the defendant Hilton Grand Vacations Company on plaintiff Glasser’s TCPA claims because the

 equipment used to send the telephone calls that allegedly violated the TCPA was not an ATDS

 because it did not produce Glasser’s telephone calls using a random or sequential number

 generator and dial them. Rather, the equipment made telephone calls to Glasser from a targeted

 list. Further, the Court affirmed summary judgment in favor of the Defendant Pennsylvania

 Higher Education Assistance Agency on plaintiff Evan’s TCPA claims because the equipment




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 used to make the telephone calls to plaintiff Evan’s was not an ATDS because it required human

 intervention to make the calls. Id. at 20.

         7.      On February 10, 2020, Plaintiff served his Motion for Class Certification and for

 Leave to Take Discovery Before Entry of Final Judgment on Defendant by certified mail (Dkt.

 9). In this motion, Plaintiff seeks to certify the following class:

         All persons in the United States, who at any time between December 19, 2015 to the

         present:

         (1) Subscribed to a cellular telephone service; and

         (2) Received, at the telephone number assigned to such service, more than one text

              message containing the word “REGAL” from the short-code number 61633.

         8.      On February 13, 2020, Defendant filed and served its Motion to Set Aside Clerk’s

 Default and Motion for Leave to File Responsive Pleading (Dkt. 10).                    The Answer and

 Affirmative Defenses that Defendant intends to file upon the Court’s granting of such motion is

 attached hereto as Exhibit B.

                                     MEMORANDUM OF LAW

         A. Standard for Class Certification

         "[A] clerk's entry of default does not change the analysis that a district court must

 undertake in deciding whether to certify a class because any other conclusion might give

 defendants an incentive to default in situations where class certification seems likely. Jackson v.

 Paycron, Inc., 2019 WL 2085430, (M.D. Fla. May 13, 2019). To that end, certification under

 Rule 23 remains a procedural requirement for a class to recover damages. Id. A court may

 therefore only certify a class action if the court is satisfied, after a rigorous analysis, that the

 prerequisites of Federal Rule of Civil Procedure 23 have been met." Id. Saade v. Insel Air, No.




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 17-22003-Civ-WILLIAMS/TORRES, 2019 U.S. Dist. LEXIS 59189, at *4 (S.D. Fla. Apr. 4,

 2019).

          There are four prerequisites for class certification under Federal Rule 23(a): numerosity,

 commonality, typicality, and adequacy of representation. Id. See Fed. R. Civ. P. 23(a); Amchem

 Prods. Inc. v. Windsor, 521 U.S. 591, 613 (1997); Prado-Steiman v. Bush, 221 F.3d 1266, 1278

 (11th Cir. 2000). In addition, a plaintiff must establish that one or more of the grounds for

 maintaining the suit as a class action are met under Rule 23(b). Id.

          "[A] defaulted defendant is deemed to admit the plaintiff's well-pleaded allegations of

 fact," including specifically allegations relating to the prerequisites for class certification under

 Federal Rule 23. Jackson v. Paycron, supra; Amadi v. Ace Homecare, LLC, No. 8:17-cv-02191-

 T-02JSS, 2019 WL 1392453, at *1 (M.D. Fla. Mar. 28, 2019). However, a defaulted defendant

 is not held to admit facts that are not well-pleaded or to admit conclusions of law." Id.

          B. Plaintiff Cannot Prove the Class Requirements Under Either Rule 23(b)(2) or
             Rule 23(b)(3).

          In the instant case, Plaintiff seeks certification under Rule 23(b)(2), which provides that

 the plaintiff must prove that the party opposing the class has acted or refused to act on grounds

 that apply generally to the class, so that final injunctive relief or corresponding declaratory

 relief is appropriate respecting the class as a whole; and Rule 23(b)(3), which requires plaintiff

 to prove (1) predominance of the questions of law or fact common to the members of the class

 over any questions affecting only individual members, and (2) superiority of a class action for

 the fair and efficient adjudication of the controversy. See Amchem, 521 U.S. at 625.

                 To the extent that Plaintiff and the putative class members seek monetary

 damages, class certification is not appropriate under Rule 23(b)(2). AA Suncoast Chiropractic

 Clinic, P.A. v. Progressive American Insurance Co., No. 17-13003 (11th Cir. 2019). Here, Plaintiff



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 and the putative class members are seeking statutory monetary damages (Dkt. 1) and, therefore, class

 certification is inappropriate for such damage claims.

         Moreover, to the extent Plaintiff is seeking class certification for injunctive relief, Defendant

 contends that it sent text messages to Plaintiff and any putative class members without using an

 ATDS as that term is defined pursuant to the Glasser case and/or that Plaintiff and any putative class

 members provided express consent to receive text messages as required under the TCPA.

 (Declaration of Denise Davis). See, Newhart v. Quicken Loans, 2016 WL 7118998 (S.D. Fla.

 2016). Thus, class certification for injunctive relief is not appropriate.

         "The Rule 23(b)(3) predominance inquiry test whether proposed classes are sufficiently

 cohesive to warrant adjudication by representation." AmChem, 521 U.S. at 623-24 (predominance

 criterion is "far more demanding" than Rule 23(a)'s commonality requirement). Predominance

 focuses on the relationship between the common and individual issues. Kerr v. City of West Palm

 Beach, 875 F.2d 1546, 1558 (11th Cir. 1989); Hanlon v. Chrysler Corp., 150 F.3d 1011, 1022

 (9th Cir. 1998). "When common questions present a significant aspect of the case and they can be

 resolved for all members of the class in a single adjudication, there is clear justification for

 handling the dispute on a representative rather than on an individual basis." Hanlon, 150 F.3d at

 1022 (citation omitted). *7

         The Eleventh Circuit has held that common issues of fact or law predominate if they have

 a “direct impact on every class member’s effort to establish liability and on every class

 member’s entitlement to injunctive and monetary relief.” Klay v. Humana, Inc., 382 F.3d 1241,

 1255 (11th Cir. 2004). The Eleventh Circuit also has cautioned that “[s]erious drawbacks to the

 maintenance of a class action are presented where initial determinations such as the issue of

 liability vel non, turn upon highly individualized facts.” Rustein v. Avis Rent-A-Car Systems,

 Inc., 211 F.3d 1228, 1235-36 (11th Cir. 2000).


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        For example, in Newhart v. Quicken Loans, 2016 WL 7118998 (S.D. Fla. 2016), the

 court denied class certification because determining whether each class member provided the

 requisite consent under the TCPA would "depend upon multiple layers of individualized

 evidence about each call and the circumstances that preceded it." 2016 WL 7118998 at *2.

 That is because, in addition to the threshold inquiry of whether each class member consented

 to the call, the factfinder would also need to determine whether each challenged call was made

 for a telemarketing purpose. Id.

        In the instant case, Plaintiff cannot prove the predominance of the questions of law or fact

 common to the members of the putative class over any questions affecting only individual

 members for several reasons. First, as set forth in the Declaration of Denise Davis, during the

 relevant time period for this matter, Defendant sent marketing texts only to individuals who (1)

 signed up to be RCC members; (2) voluntarily provided their mobile telephone numbers; (3)

 opted-in to receive up to 4 marketing texts per month and, therefore, provided express consent to

 receive such texts; (4) received certain texts targeted to them based on certain filtered criteria

 including their cinema activity, transaction data, movie-going behavior; (6) received the texts

 from equipment that was not an ATDS because such equipment sent texts to a targeted group

 rather than using a random or sequential number generator; and (7) received the texts from

 equipment that was not an ATDS because such equipment could not and/or or did not send the

 texts without human intervention.

        Unquestionably, based on Glasser, the Plaintiff and any putative class members who

 received texts from equipment that was not an ATDS have no TCPA claim and must be

 excluded from the class. Similarly, the Plaintiff and any putative class members who provided

 express consent to receive the texts have no TCPA claim and must be excluded from the class.




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 See, Newhart v. Quicken Loans, supra. Thus, the determination of class status turns upon

 highly individualized facts regarding whether Plaintiff and individual putative class members

 received texts from an ATDS or not1 and whether the Plaintiff and individual class members

 provided express consent.

          Further, the number and content of the texts sent to Plaintiff and each individual

 putative class members were determined by each individual’s cinema activity, transaction data,

 and movie-going behavior, among other criteria. Thus, any liability determinations and

 damage calculations for Plaintiff and each individual putative class members will turn upon

 highly individualized facts.

          Based on the foregoing, Plaintiff cannot prove the predominance of the questions of law

 or fact common to the members of the putative class over any questions affecting only individual

 members and Plaintiff’s Motion for Class Certification and for Leave to Take Discovery Prior to

 Entry of Final Judgment should be denied.

          WHEREFORE¸ Defendants respectfully requests that this Court Motion for Class

 Certification and for Leave to Take Discovery Prior Entry of Final Judgment.

          DATED February 27, 2020.

                                                       Respectfully Submitted,

                                                       /s/ Grant D. Petersen
                                                       Grant D. Petersen
                                                       Florida Bar Number 378682
                                                       E-mail: grant.petersen@ogletree.com
                                                       OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.

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  It is anticipated that Plaintiff will argue that, as a result of the entry of default, Defendant has admitted to the
 allegations that it sent texts to Plaintiff and the putative class members by using an ATDS as defined by the TCPA.
 However, such “admission” would be an admission of law and Defendant cannot admit to a conclusion of law.
 Duncan v. Sabal Palms I Assocs., Ltd., No. 89-3 CIV-FtM-10(A), 1990 WL 10600304, at *3 (M.D. Fla. June 7,
 1990). In any event, the entry of default occurred prior to the Eleventh Circuit’s decision in Glasser, which
 narrowed the definition of an ATDS under the TCPA for pending cases within the Eleventh Circuit. Thus,
 Defendant contends that it could not have admitted that it used an ATDS as such term is now defined under the
 narrow Glasser criteria and that any pre-Glasser admission is non-binding.


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                                                 100 North Tampa Street, Suite 3600
                                                 Tampa, Florida 33602
                                                 Telephone: 813.289.1247
                                                 Facsimile: 813.289.6530
                                                 ATTORNEYS FOR DEFENDANT

                                    CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 27th day February, 2020, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system, which will send a notice of

  electronic filing to Plaintiff’s counsel, Frank Hedin, at:.

         Frank S. Hedin, Esq.
         Hedin Hall LLP
         1395 Brickell Ave., Suite 1140
         Miami, Florida 33131
         E-mail: fhedin@hedinhall.com


         I FURTHER CERTIFY that to the best of my knowledge there are not any non-

  CM/ECF participants that require notification of this response via U.S. Mail.

                                                    /s/ Grant D. Petersen ______________________
                                                    Grant D. Petersen




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